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06                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
07                                      AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )
09               Plaintiff,               )             Case No. CR05-260-RSL
                                          )
10           v.                           )
                                          )
11   PEGGY LEE WHITE, a/k/a               )             DETENTION ORDER
     “Faith,”                             )
12                                        )
                 Defendant.               )
13   ____________________________________ )

14 Offenses charged:

15           Count 1: Conspiracy to Commit Kidnaping and Other Offenses in violation of 18

16 U.S.C. § 371.

17           Count 2: Kidnaping in violation of 18 U.S.C. §§ 1201(a)(1) and 2.

18           Count 3: Interstate Transportation in Furtherance of Prostitution in violation of 18

19 U.S.C. §§ 2422(a) and 2.

20 Date of Detention Hearing: October 6, 2005.

21           The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

22 based upon the factual findings and statement of reasons for detention hereafter set forth,

23 finds:

24          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

25           Defendant has stipulated to detention, due to the detainer lodged against her, but

26 reserves the right to contest her continued detention if there is a change in circumstances.

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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01         IT IS THEREFORE ORDERED:

02         (1)   Defendant shall be detained pending trial and committed to the custody of the

03               Attorney General for confinement in a correction facility separate, to the

04               extent practicable, from persons awaiting or serving sentences or being held in

05               custody pending appeal;

06         (2)   Defendant shall be afforded reasonable opportunity for private consultation

07               with counsel;

08         (3)   On order of a court of the United States or on request of an attorney for the

09               government, the person in charge of the corrections facility in which

10               defendant is confined shall deliver the defendant to a United States Marshal

11               for the purpose of an appearance in connection with a court proceeding; and

12         (4)   The Clerk shall direct copies of this Order to counsel for the United States, to

13               counsel for the defendant, to the United States Marshal, and to the United

14               States Pretrial Services Officer.

15
                 DATED this 7th day of October, 2005.


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                                                       JAMES P. DONOHUE
18                                                     United States Magistrate Judge
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     DETENTION ORDER                                                                        15.13
     18 U.S.C. § 3142(i)                                                                 Rev. 1/91
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